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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                             NOTICE OF APPEARANCE
                                                      OF CO-COUNSEL
                    Plaintiff,
         v.
                                                      Criminal No. 22-145 (JRT/JFD)
MARVIN WASHINGTON,

                 Defendant,
________________________________________________________________________


      Pursuant to the Court's order appointing counsel, the undersigned attorney hereby

notifies the Court and counsel that Douglas L. Micko shall appear as appointed co-

counsel of record for the above-named defendant in this case.


Dated: August 3, 2022                           s/ Douglas L. Micko
                                                DOUGLAS L. MICKO
                                                Attorney ID No. 299364
                                                Attorney for Defendant
                                                Office of the Federal Defender
                                                107 U.S. Courthouse
                                                300 South Fourth Street
                                                Minneapolis, MN 55415
